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UNITED STATES DISTRICT COURT.
DISTRICT OF NEVADA

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ST. MATTHEW'S UNIVERSITY (CAYMAN)
LTD. Vv.

 

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ASSOCIATION OF AMERICAN Oo

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INTERNATIONAL MEDICAL GRADUATES,
INC., et al FILED UNDER SEAL
CERTIFICATE OF CASH DEPOSIT
1. |, Ronald D. Green, Esq. _ herewith tender to the Clerk

 

(Name of Depositor)
of Court for deposit into the Registry Account of this Court cash in the amount of

S 10,000.00

 

2. This Cash Deposit:

A. Is tendered on behalf of 3 MATTHEW'S UNIVERSITY (CAYMAN) LTD.

(Name of Party)
B. Is in the nature of the following (e.g., Interpleader Deposit, Bond in Support

of Temporary Restraining Order, etc.) : |

BOND IN SUPPORT OF EX PARTE ORDER FOR EXPEDITED DISCOVERY.

 

 

C. Is tendered pursuant to the following Statute, Rule or Court Order: _
COURT ORDER ISSUED FRIDAY, JULY 15, 2005, a copy of which is attached

 

 

 

D. Is conditioned as follows: _

CONDITIONED UPON THE ISSUANCE OF ORDER GRANTING PLAINTIFF'S MOTION FOR EXPEDITED
DISCOVERY.

 

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PadAmt sts Date
Receipt # FCB initia

 

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Case 2:05-cv-00848-BES-LRL Document 10 Filed 07/19/05 Page 2 of 6

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3. The name and address of the Legal Owner of the cash tendered

herewith to whom a refund (if applicable) shall be made Is:
KRONENBERGER & ASSOCIATES

 

22C Montgomery St.. Suite 1920

 

San Francisco, CA 94104

State of Nevada ) tien yout 14 oH ,

 

 

 

 

County Med OA I = JO \ PA
on Gut yl P 2009 Signatate OND ve ff

persénally agpeared before me, a
Notary Public,

Ronald D. Green, Esq.
(Name of Depositor)
who acknowledged that (s)he
executed the above instrument.

(AV

ROTARY PUBLIC - Dated:

 

 

 

 

 
 

Signature of Attorney fot
Party or Party Appearing
Pro Se (If different from
Depositor)

SE HARPER

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if way NOTATY Public, state of 295. 4

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RECEIPT:

Cash as identified herein is
hereby acknowledged as being
received this date.

JUL 19 2005
Dated:

 

CLERK, U.S. DISTRICT COURT
By: PULTE RIVERS

Deputy Clerk

 
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Case 2:05-cv-00848-BES-LRL Document 10 Filed 07/19/05 Page 4 of 6

——«#—"” nace

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
ST, MATTHEW’S UNIVERSITY, ) a a i .
(CAYMAN) LTD., Se Te
) SEALED —
Plaintiff(s), ) eH & un
) CV-S-05-878 RCJ(LRL) © U
VS. ) SS 7
) MINUTES OF COURT =
ASSOCIATION OF AMERICAN ) “
INTERNATIONAL MEDICAL ) July 15, 2005
GRADUATES, INC., et al., )
Defendant(s). )

 

PRESENT: THE HONORABLE ROBERT C. JONES, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK: B. J. PRICE RECORDER: LILIA ABARCA DE CARTER

COUNSEL FOR PLAINTIFF(S):_KARL S. KRONENBERY, TERRI R. HANLEY
& RONALD D. GREEN

COUNSEL FOR DEFENDANT(S):_ NONE APPEARING
PROCEEDINGS: TEMPORARY RESTRAINING ORDER
9:27 am. COURT CONVENES.

The Court advises Counsel it wants to assure the defendant’s interest is not jeopardized without
contact or notice.

IT IS HEREBY ORDERED the temporary restraining order will be granted. The Plaintiff is
required to post a $10,000.00 bond toward any damages that may be incurred. The Court will
sign the submitted proposed orders. Counsel shall prepare and submit an order regarding the
bond for the Court’s signature.

The Court advises Counsel the submitted pro hac vice forms will be signed by the Court.

9:30 am. ADJOURNMENT.

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of
N Deputy Clerk
Case 2:05-cv-00848-BES-LRL Document 10 Filed 07/19/05 Page 5 of 6

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Be “SAN FRANCISCO, CALIFORNIA
By aera 200-2384686 .

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- Ten Thousand-and 00/1 00ths Dollars Oe uly 16 2605 -

 

 

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PAY TOTHE CLERK, U.S. DISTRICT COURT ! oo!

1 ORDER OF

REMITTER, KARL STEPHEN KRONENBERGER oe a Qe PALL ag 2

(AUTHORIZED SIGNATURE)

FORM 00255-T3 (08/23/2003) Overlay 19 00247-73 (08/7442041)

 

 

COPYBANS ANT}FRAUD PROTECTION PATENTS 4.210.346, 4.227 720, 4.310.160, 5,197,765. S340. ise- “| To
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U.S. District Court
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